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                           IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

  JULIE O’SHAUGHNESSY, individually,              SECOND AMENDED CLASS ACTION
  and on behalf of all others similarly           COMPLAINT
  situated,
         Plaintiff,

  v.

  YOUNG LIVING ESSENTIAL OILS, LC
  D/B/A YOUNG LIVING ESSENTIAL                    Case No. 2:20-cv-00470-HCN-DBP
  OILS,                                           District Judge Howard C. Nielson, Jr.
         Defendant.                               Magistrate Judge Dustin B. Pead

        Plaintiff Julie O’Shaughnessy (“Plaintiff” or “Julie”), individually, and on behalf of all

 those similarly situated, files her Second Amended Class Action Complaint against Defendant

 Young Living Essential Oils, LC d/b/a Young Living Essential Oils (“Young Living”). Plaintiff’s

 Second Amended Class Action Complaint pleads federal securities claims brought pursuant to




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 Section 12(2) of the Securities Act of 1933, and Section 10b(5)(a) and (c) of the Securities

 Exchange Act of 1934.1 Accordingly, Plaintiff alleges as follows:

                                                  I.
                                           INTRODUCTION

        1.      Julie, like the hundreds of thousands of putative class members she seeks to

 represent in this action, paid Young Living thousands of dollars to participate in Young Living’s

 heavily marketed business opportunity.

        2.      As it turns out, Young Living is part of an illegal pyramid scheme created under

 the guise of selling Young Living’s own essential oils for quasi-medicinal purposes. In truth,

 Young Living is nothing more than a piece of a cult-like organization falsely peddling the ever-

 elusive promise of financial success and an alternative lifestyle.

        3.      The amounts paid by Julie and putative class members just like her to become

 Young Living Essential Rewards enrollees (“Members”), were induced by the false promises that

 “investment” in Young Living’s pyramid scheme would bring about financial health (which

 Young Living calls “abundance”) and even physical health. Of course, the patently false promise

 of riches and alternative health remedies are simply the hook used by Defendant to grow Young

 Living’s base of recruits, which is necessary to prop up the illegal pyramid scheme so that the

 Defendant, but not the Members, is rewarded with immense wealth.

        4.      Defendant Young Living, and promoters of the pyramid scheme falsely represent

 to Young Living’s Members that participation in Young Living—which necessarily requires

 regular monthly payments—will result in spiritual and material riches so long as they continue to


 1
  Plaintiff’s Second Amended Class Action Complaint no longer pleads claims against former Defendants
 Mary Young and Jared Turner.


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 solicit additional recruits to become Members of the Young Living family and pay their minimum

 monthly dues.

        5.       But those promises are nothing more than a pipe dream for Young Living’s millions

 of Members. In reality, Defendant is operating an unlawful pyramid scheme—the cornerstone of

 which is Young Living’s emphasis on new member recruitment over the sale of products.

        6.       To wit, based on Young Living’s own public disclosures, 94% of total Members

 earn an average of $1 per month in sales commissions, and more than half of those who joined in

 2016 alone made no commissions at all. Worse still, these same Members were nevertheless

 required to spend hundreds of dollars on Young Living products to remain active Members. As

 such, the average loss per Member in 2016 was approximately $1,175, a key fact that Defendant

 not only failed to disclose, but affirmatively concealed from, prospective new Members.

        7.       In short, Defendant has conducted business in an unlawful fashion and Plaintiff and

 the putative class seek to hold them accountable for such behavior.

        8.       Accordingly, Plaintiff seeks on her own behalf and on behalf of the putative class

 to recover damages from Defendant pursuant to federal securities laws.

                                                II.
                                              PARTIES

        9.       Plaintiff and putative class representative Julie O’Shaughnessy is a resident of

 Austin, Texas. In 2015, Julie became a Young Living representative after being recruited by a

 friend at a party designed for that purpose. Julie paid $100 to become a Young Living Member

 and has since expended thousands of dollars as part of her participation in the Young Living

 scheme, all of which is now lost.




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            10.   During the 2015 party attended by Julie, Julie paid $100 to join Young Living as

 a Member and also enrolled as a Young Living Essential Rewards Member by filling out a Young

 Living Essential Rewards Membership Application on-line, as well as receiving Young Living’s

 Policies and Procedures, and Compensation Plan. Julie and putative class member’s Young Living

 memberships have been declared to be securities and such securities are unregistered in Utah (or

 anywhere else). 2 The Membership Application, Policies and Procedures, and Compensation Plan

 constitute the offering materials/prospectus delivered to investors and through which the security

 is sold.

            11.   Defendant Young Living Essential Oils, LC is a Utah limited liability company

 with its principal offices and headquarters located in Lehi, Utah. Young Living claims to “create

 abundance” for its Members. In reality, Young Living creates abundance only for itself, by selling

 prospective Members on its fantastical and cult-like culture—all of which revolves around the self-

 authored mythology of its recently deceased founder, Gary Young, and his fraudulent peddling of

 essential oils as a medicinal remedy. Young Living has been served with process by serving its

 registered agent, Corporation Service Company, 15 West South Temple, Suite 1701, Salt Lake

 City, UT 84101, and has appeared.

                                               III.
                                      ADDITIONAL NON-PARTIES

            12.   Gary D. Young, who died in early 2018, was the founder of Young Living.




 2
   Plaintiff brings this lawsuit as a securities claim in response to the Court’s order dismissing her RICO
 claims and granting leave for Plaintiff to amend her petition to include securities claims only. Plaintiff
 preserves her objection to the Court’s ruling that her RICO claims are pre-empted by the PSLRA.


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         13.     Mr. Young’s colorful 30 year history as the founder and CEO of Young Living

 included such memorable moments as: (a) being prosecuted for practicing medicine without a

 license on multiple occasions; (b) running a now shuttered “Young Living Research Clinic” in

 Springville, Utah, (subsequently replaced by a Young Living clinic in Ecuador) where he

 employed a quack physician convicted of manslaughter; and (c) allegations he nearly killed a

 patient through vitamin C infusions which caused renal failure.3 His biography (authored by his

 wife—former Young Living CEO Mary Young) “D. Gary Young: The World Leader in Essential

 Oils,” is a central piece of the Young Living cult’s lore, which in turn is critical to the Defendants’

 schemes.4

         14.     Young Living Foundation (the “Foundation”) is a 501(c)(3) charitable foundation

 also created by Mr. Young. While the Foundation engages in charitable endeavors, it also serves

 to provide legitimacy to the pyramid scheme, as well as an entry point for the recruitment of

 members into the pyramid scheme across the globe.




 3
   See Rachel Monroe, How Essential Oils Became the Cure for Our Age of Anxiety, THE NEW YORKER,
 October 9, 2018. Mr. Young was also the subject of an investigative report in which workers at his Tijuana
 based “medical clinic” represented to an undercover investigative reporter from the Los Angeles Times
 (who had provided the clinic with a blood sample) that he had “aggressive cancer and liver dysfunction”
 which required immediate, expensive therapy at the clinic. When the clinic workers were confronted with
 the fact the blood sample was provided by a healthy tabby cat named “Boomer,” they responded the cat
 likely had leukemia. According to Ms. Moore’s article, Boomer is alive and well, despite Young Living’s
 gloomy diagnosis.
 4
  According to Mr. Young’s biography, while working as a logger in the State of Washington, Mr. Young
 was struck by a falling tree, which resulted in a fractured skull, ruptured spinal cord, and nineteen broken
 bones. After being told he would never walk again, Mr. Young claimed to have healed himself through a
 252-day dietary regimen of nothing but water and lemon juice. By comparison, the medicinal qualities and
 potential for financial rewards ascribed to essential oils by Young Living are not nearly as believable.


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                                                   IV.
                                        JURISDICTION & VENUE

           15.     This Court has subject matter jurisdiction over this action pursuant to the Class

 Action Fairness Act, 28 U.S.C. 1332(d)(2).

           16.     Venue is proper in this District, and this Court has personal jurisdiction over the

 Defendant pursuant to 28 U.S.C. § 1391(b) as the Defendant is a citizen of, resident of, is found

 within, have agents within, are doing business in, and/or transact their affairs in this District, and

 the activities of the Defendant which give rise to the claims for relief occurred in this district.

 Moreover, the venue agreement contained in the Membership Agreement between Plaintiff and

 Defendant was previously determined by the United States District Court for the Western District

 of Texas (where this action was first filed) to be a mandatory venue selection clause, such that

 venue for this action exists only in this judicial district.5

                                                    V.
                                                  FACTS

                         HOW THE YOUNG LIVING PYRAMID SCHEME WORKS

           17.     Young Living manufactures and sells “essential oils” via a complicated MLM

 operation, which is actually an illegal MLM pyramid scheme operated by Defendant. The complex

 and intentionally hard-to-understand multi-layer compensation/participation structure of the

 Young Living pyramid is a hallmark of illegal MLM pyramid schemes.

           18.     While many consider every MLM company to be inherently fraudulent, the Federal

 Trade Commission has outlined some guidelines it considers critical to distinguishing an illegal

 pyramid scheme from a “legitimate” MLM. For example, a legal MLM program must structure


 5
     See Dkt. No. 74.


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 its compensation so that the members are paid primarily based on sales of goods and/or services

 to those outside the plan. By contrast, an illegal pyramid scheme overwhelmingly rewards its

 participants for recruitment of new members rather than product sales made to persons outside the

 pyramid structure.

           19.     Here, the Defendant is operating an illegal pyramid scheme, in no small part

 because the financial success of any Young Living Member is overwhelmingly dependent on the

 recruitment of new people into the Young Living sales force—i.e., the defining characteristic of

 an illegal pyramid scheme versus a legitimate MLM company. Specifically, Defendant peddles

 the fleeting promise of financial rewards—what they call “abundance”—through the unrelenting

 recruitment of new Members. The pyramid’s very structure ensures that every new Member will

 almost certainly lose large sums of money, chasing the elusive promise of “abundance” by trying

 to recruit additional new Members from an ever-shrinking pool of available candidates.

           20.     And the Members’ losses are compounded by the pyramid’s structure, which

 requires Young Living’s Members to continuously purchase (and as a result, hold) an ever-

 growing inventory of unused product, in direct violation of the 70/30 rule established in the FTC’s

 1979 Amway ruling.6

           (1)     The Pyramid Scheme Encourages Member Recruitment over Retail Sales

           21.     In order to join Young Living, new Members must first purchase a “starter kit”

 from an existing Member and enter into a Member Agreement which also incorporates Young

 Living’s Policies and Procedures and Compensation Plan. A basic starter kit consists of an order

 of a single, 5 ml bottle of “stress away” essential oil, samples of other various oils, an atomizer,


 6
     See In the Matter of Amway Corporation, 93 F.T.C. 618, 679–80 (1979).


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 sample business cards, “Essential Oils Magazine,” “Essential Edge News,” and miscellaneous

 other “resources” for new Members. The cost of a starter kit ranges from $100 (for a basic kit) up

 to $260 for “premium” kits. The vast majority of new Members opt for the premium kits, largely

 because the recruiters are actively encouraged by Young Living to push the premium kits over the

 starter kits.

           22.     Once a new Member enrolls, Young Living pays a cash bonus to the “up line”

 Member who recruited the new “down line” Member to incent its existing Members to recruit as

 many new down line Members as possible.7

           23.     The payment of the cash enrollment bonus, however, is not the only manner in

 which Members are actively and repeatedly encouraged to focus their efforts on the recruitment of

 new Members.

           24.     Even a cursory review of Young Living’s compensation structure makes

 abundantly clear recruiting is prioritized over the sale of product in the Young Living system—to

 a fault.8

           25.     As Members attempt to move through the Young Living compensation system,

 their only opportunity to earn enough income to cover the cost of Membership is by recruiting new

 Members and then encouraging their down line Members to also recruit aggressively. And this

 undoubtedly is by design.




 7
     When Julie joined in 2015, the cash bonus was $50. Today it is $25.
 8
  A true and correct copy of the Young Living Compensation Plan was attached as Exhibit A to the Original
 Complaint. See Dkt. 1 at 38. That document is incorporated herein by reference.


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        26.     To move up the pyramid and to be eligible to receive commissions, Young Living

 Members must enroll in the Essential Rewards (“ER”) program and maintain their active

 enrollment in ER by purchasing a minimum amount of Young Living products on a monthly basis,

 which is referred to as personal volume or “PV.”

        27.     Young Living gives each product a PV value, where each point is roughly

 equivalent to each dollar of goods purchased. So, a $10 product would typically have a PV value

 of 10. The minimum PV value to maintain active enrollment in ER is 50, but to earn commissions

 on a downline, the minimum PV increases to 100. In Julie’s case—before she discovered

 Defendants were operating an illegal pyramid scheme—she purchased at least $100 of Young

 Living product each month in order to maintain her eligibility to earn commissions.

        28.     The products that comprise a Member’s PV are purchased at a 24% discount and,

 at least theoretically, can be resold by each Member, who could retain any difference between the

 discount and the retail price for which they might sell the product. But there is no real incentive

 or profit associated with a Member trying to become a reseller of oils as opposed to becoming a

 recruiter of more down line members for two important reasons. First, there’s no real opportunity

 for a Member to profit from becoming a reseller of oils at a mark-up because anyone can buy the

 oils at the discounted “wholesale” price directly from Young Living. Second, Members do not

 earn any commissions on the PV they purchase from Young Living. Instead, Members earn

 commissions only from (a) starter kits sold to newly recruited Young Living Members, and (b) the

 Organizational Group Volume, or OGV, purchased by their down-line Members either recruited

 personally by them, or recruited by their down-line Members. Importantly, no Member may earn

 a commission except through new member recruitment.



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         29.     And even more shocking is that Young Living doesn’t even pay earned

  commissions to most of those lucky few who are able to amass a down line that purchases the

  minimum level of OGV each month. To the contrary, if a Member’s earned commission is less

  than $25 in a single month, Young Living will not pay that commission to the Member. Instead,

  Young Living issues a credit, which can be used by the Member only to buy more product. So, if

  a Member’s OGV isn’t large enough each month to trigger a commission check, her only option

  is to recruit even more Members in hopes of driving up her OGV.

         30.     This is not a system designed to sell product to those outside the pyramid. Rather,

  the entire system is designed for one purpose: to recruit new Members to grow the illegal pyramid.

         31.     To support the pyramid’s need to bring in new blood, Young Living presents its

  Members with a dizzying array of bonuses and other compensation benefits earned solely through

  the recruitment of additional Members. And those benefits all come with membership titles meant

  to falsely convey to new Members the promise of wealth—such as “Gold,” “Platinum,” and

  potentially, the elusive title of “Royal Crown Diamond.”

         32.     The problem is, these higher tiers are virtually unattainable. In order to move up

  the pyramid and share in the abundance of promised riches, a Member’s required minimum OGV

  increases dramatically. For example, in order to earn the relatively low rank of “Star,” a new

  Member must have an OGV of 500, and the Member’s minimum PV of 100 doesn’t count towards

  the 500 OGV. In other words, a Member is required to recruit new Members to move up the

  pyramid and earn commissions. And because Members are not rewarded for additional PV

  purchased personally, the only conceivable way for a Member to move up in rank is by achieving

  the near impossible—i.e., the creation of a down line consisting of thousands of recruits.



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         33.     Consider, for example, Young Living’s highest rank of “Royal Crown Diamond.”

  The required OGV is a staggering 1,500,000. In order to meet an OGV of 1,500,000, a Member

  would need a down line of more than 15,000 members each purchasing the minimum PV. And

  because attrition and failure to order minimum PV is not uncommon, it is likely a Member would

  actually need a down-line consisting of many multiples of that number. Thus, it is not surprising

  that an infinitesimally small number of Members have ever actually achieved any meaningful

  success. Indeed, while Young Living brazenly touts the achievement of becoming a “Royal Crown

  Diamond” as within the grasp of all of its Members, a mere 46 have achieved this goal. Young

  Living claims it has 3,000,000 active Members but does not report on the number of former

  Members. Thus, only .0015% of active Members have made it to the top of the pyramid, and the

  percentage of all Members is very likely much, much smaller. On information and belief, Young

  Living intentionally conceals the number of former Members from new recruits so they will not

  know how truly impossible it is to achieve “abundance” by joining the illegal pyramid.

         34.     Thus, the overwhelming majority of Young Living Members lose money by paying

  far more into the scheme than they receive, while those few at the top reap untold riches, funded

  by all of the lower-level Members paying into the system. This is the very definition of an illegal

  pyramid scheme.

         (2)     Young Living Encourages Its Members to Violate the 70/30 “Amway” Rule

         35.     Beyond Young Living’s overwhelming dependence on recruitment income, Young

  Living’s status as an unlawful pyramid scheme is further evidenced by its brazen violation of the

  so-called 70/30 rule. In the Federal Trade Commission’s seminal 1979 Amway ruling, it concluded

  that Amway did not operate as a pyramid scheme, in part, because Amway required its



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  representatives to submit proof of resale demonstrating no more than 30% of purchased product

  was for personal use or storage before permitting its representatives to purchase additional

  product—thus the term “70/30.”

         36.     The 70/30 rule is designed to prevent an MLM from encouraging its Members to

  continuously order new product for sale (sometimes referred to as “inventory loading”) in order to

  be eligible to earn commission. Here, Young Living’s compensation system actually requires its

  Members to inventory-load product. If a Member fails to meet her minimum monthly PV, she is

  not eligible to earn any commissions on her down line’s OGV no matter how large that OGV may

  be.

         37.     Young Living is well aware of the 70/30 rule. Its policies and guidelines even say

  that no more than 30% of ordered PV can be stored prior to purchasing additional inventory. But

  this is mere lip-service. Young Living does absolutely nothing to enforce this policy and is well-

  aware that it is routinely violated. It has no method of compliance in place, and it requires no

  proof that its Members are actually selling their PV. Any Member can order as much PV as she

  wants, whenever she wants. Indeed, the monthly minimum PV required to earn commissions

  intentionally encourages Members to buy product each and every month regardless of how many

  bottles of essential oils are being amassed in closets and garages by Members.

         38.     And, unlike MLMs that sell physically large products, which impedes inventory

  loading, the opposite is true of Young Living’s products. Young Living’s oils are contained in

  small, easily stored vials, which actually facilitate inventory loading. Most vials contain only 5

  ML to 15 ML and each one can sell for $20+. At that size and price, a single closet shelf would

  be enough space for a failing Young Living Member to store literally thousands of dollars in unsold



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  product, hoping against hope that her down line OGV will grow large enough to trigger a meager

  commission.

            (3)     Young Living Is In Fact an Illegal Pyramid Scheme

            39.     By any measure, the Defendants are unequivocally operating a pyramid scheme.

            40.     Numerous government agencies, legal opinions and experts have all recognized

  that MLM companies like Young Living, which emphasize member recruitment over product

  sales, earn the majority of their revenue from member recruitment, and make no effort to enforce

  the “70/30” rule, are in fact illegal pyramid schemes.9

            41.     Indeed, in 2015 the FTC sued Arizona based Vemma Nutrition Company in the

  District Court of Arizona for running an illegal pyramid scheme utilizing the exact pay structure

  and model utilized by Young Living.10

            42.     In December 2016 Vemma admitted it was running an illegal pyramid scheme and

  agreed to a judgment which included $238 million in monetary damages, as well as an injunction

  which prohibits Vemma from, inter alia, engaging in the very same acts which the Defendants are

  engaging in here.11


  9
   See e.g., Stull v. YTB Intern., Inc., CIV. 10-600-GPM, 2011 WL 4476419, at *5 (S.D. Ill. Sept. 26, 2011)
  (unpublished) (noting fact travel based pyramid scheme’s revenues were largely derived from new recruits
  supported allegation it was a pyramid scheme).
  10
       See FTC v. Vemma Nutrition Co., et al., 15 CV 01578–PHX (D. Ariz.) (ECF No. 1).
  11
     See FTC Release “Vemma Agrees to Ban on Pyramid Scheme Practices to Settle FTC Charges.”
  https://www.ftc.gov/news-events/press-releases/2016/12/vemma-agrees-ban-pyramid-scheme-practices-
  settle-ftc-charges (Dec. 15, 2016). More recently, Dallas-based Advocare, in the face of the FTC’s
  allegations it was also running an illegal pyramid scheme, agreed to a $150 million fine levied by the FTC
  and to completely change its business model such that members no longer recruit at all, and instead only
  sell Advocare products directly. See FTC Release “FTC Settlement Ends Advocate’s Alleged Pyramid
  Scheme and Bans Defendants from Multi-Level Marketing” https://www.ftc.gov/news-
  events/blogs/business-blog/2019/10/ftc-settlement-ends-advocares-alleged-pyramid-scheme-bans (Oct. 2,
  2019).


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         43.     Specifically (and just like Vemma), the overwhelming majority of representatives

  will not even recoup the money they paid to Young Living to become a Member and be part of

  Young Living’s sales force.

         44.     Conversely (and just like Vemma), Young Living’s enormous revenue is largely

  staked in the money it receives from its own representatives to be part of the sales force, and the

  products its sales force are required to purchase to remain an active Essential Rewards enrollee.

         45.     Federal courts have recognized that the operation of a pyramid scheme such as

  Young Living constitutes fraud. Pyramid schemes make money for those at the top of the pyramid

  and victimize those at the bottom who cannot find recruits. Accordingly, pyramid schemes by

  their design and implementation are inherently fraudulent. The Defendant’s operations are also a

  pyramid scheme because they are based on false promises of vast financial rewards, which are

  impossible to achieve for new Members who enter at the bottom of the pyramid and who have no

  realistic chance of moving up the ladder.

         46.     Ultimately, the Members are financially induced by Defendant to recruit new

  representatives to join the sales force through materially false representations and/or omissions

  about the Young Living pyramid scheme. By emphasizing recruitment over product sales, Young

  Living crosses the threshold from legitimate MLM into an illegal pyramid scheme.

         47.     The rewards Members can achieve in this case are dependent on virtually endless

  recruitment into the scheme in which people are exploited and have virtually no chance to get a

  return on their “investment,” let alone achieve the high financial gains Defendant induced these

  representatives to believe they would achieve. The Defendants participates in the illegal fraud




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  through its statements, omissions, and actions in furtherance of Young Living’s operations as an

  illegal pyramid scheme.

                      THE STRUCTURE OF THE YOUNG LIVING PYRAMID SCHEME

         48.     The members of the Young Living Pyramid Scheme is structured in the following

  manner, and the Defendant and others have the following roles:

                 a.      Gary Young created Young Living Essential Oils, LC and the Young Living

  Foundation (the “Foundation”) as legitimate fronts behind which he created, operated, and grew

  the illegal pyramid. For their legal faces, Young Living manufactures, promotes, and sells

  essential oils, while the Foundation is Young Living’s charitable arm that gives Young Living a

  patina of legitimacy and entry into otherwise difficult to penetrate markets around the world.

  Behind the scenes, however, Gary Young used Young Living and the Foundation to operate the

  illegal pyramid scheme described herein. Mary Young helped her husband promote and operate

  the illegal pyramid scheme and later took over operations of the unlawful pyramid scheme after

  her husband died.

                 b.      Young Living manufactures, bottles and sells essential oils. Young Living

  also serves to (i) provide the pyramid scheme with the means to implement and promote a

  compensation plan that drives recruitment rather than sales of the products produced by Young

  Living, and (ii) operate an administrative structure that, among other things, creates and supports

  the marketing of the pyramid scheme. Through these efforts, Young Living grows the pyramid

  scheme through encouraging new recruitment by unsuspecting Members.

                 c.      The Foundation is a 501(c)(3) charitable organization that participates in

  charitable endeavors, it also serves to provide the pyramid scheme with a patina of legitimacy, and



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  thus helps to introduce the pyramid scheme to unsuspecting potential Members across the globe.

  Notably, nearly all pyramid schemes involve the creation of a foundation for this very purpose.

                 d.      Individuals associated with the Defendant each performed a role that was

  essential to its operation and continued success of the Pyramid Scheme. Mary Young is a co-

  founder along with Gary Young, and as of the date this suit was originally filed, acted as the Chief

  Executive Officer of Young. Since 2012, Jared Turner has served as the Chief Sales Officer, the

  Chief Sales and Marketing Officer, the Chief Operating Officer, and as of the date this suit was

  originally filed, was the President and COO of Young Living.

                 e.      The success of Defendant’s pyramid scheme would not be achieved but for

  the agreed, active, willing participation of these individuals and the Foundation. For example,

  Mary Young wrote and created the fictional biography of Gary Young, through which the

  scheme’s fraudulent promises of spiritual and financial “abundance” were developed and

  promoted. Later, Young took over operation and management of the pyramid scheme, and she

  and Turner agreed to perpetuate the scheme.

                 f.      The success of the pyramid scheme made it possible for the Defendant and

  these individuals to enjoy substantial illegal financial benefits through the fraudulent payment of

  enormous sums by Young Living Members to be part of the Young Living pyramid scheme.

         49.     Under the direct supervision of Young, Turner and others, and with their knowledge

  and approval, Young Living promotes the pyramid scheme using emails, electronic newsletters,

  Facebook, and videos posted to hosting sites like YouTube and Vimeo. These promotional

  materials are inherently fraudulent because they promote an illegal pyramid, which itself is

  inherently fraudulent. These promotional materials are also specifically fraudulent because they



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  make false promises to the effect that prospective new Members may earn riches if they will join

  and participate in the pyramid scheme.       These promotional materials are also specifically

  fraudulent because they fail to disclose the material fact that prospective new Members will almost

  certainly never be able to earn more in commissions than they will pay to Young Living.

              PLAINTIFF’S EXPERIENCE CONFIRMS YOUNG LIVING IS A PYRAMID SCHEME

            50.     In 2015, Julie joined Young Living as a Member after attending a Young Living

  party hosted by a close friend, who was herself a member of the Young Living pyramid scheme

  and using Young Living designed promotional materials to recruit prospective new Members.

  Julie was initially interested in the quasi-medicinal claims associated with Young Living’s oils,

  and was also persuaded the operation of a Young Living distributorship might at least cover the

  cost of paying approximately $100 for a “starter kit” and the right to resell Young Living products

  as a Member.

            51.     Julie joined Young Living by electronically signing the Young Living Member

  Agreement, which by its terms included the Young Living Policies and Procedures, and Young

  Living Compensation Plan, each of which were also provided to Julie.12

            52.     Thereafter, Julie began making monthly payments to Young Living in order to

  satisfy her PV requirement, and to ensure she could receive both the potential commissions of her

  “down line” as well as the 24% wholesale discount on the product she was purchasing.

            53.     Of course, like the overwhelming majority of Members, Julie found recruitment

  and sale of products difficult, if not impossible. Indeed, since joining Young Living, Julie has

  only been able to recruit a handful of new Members as her “down-line,” which makes her chances


  12
       See Dkt. 7-2 ¶¶ 9–10.


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  of even breaking even as a Young Living Member impossible. But even with little success in

  recruiting down line members, Julie dutifully purchased her minimum 100 PV every month so she

  wouldn’t lose the chance to earn a commission from her down line’s OGV. Julie bought product

  month after month whether she needed it or not (she didn’t), and whether she had any hope of re-

  selling it to someone else (she couldn’t) without Young Living ever questioning whether she was

  re-selling at least 70% of her purchases.

         54.     By the time Julie realized she had been victimized by Young Living, she had

  purchased more than $4,700 worth of product, but “earned” a commission of only $385 from her

  down line.13 She estimates she has accumulated about 2-3 years’ worth of product if she were to

  try to use it all herself, including at least one unopened bottle from her initial purchase way back

  in 2015. Because the vials are so small, Julie had no clue how much inventory she had been

  loading in an effort to chase the elusive promise of down line commissions.

         55.     Julie’s experience is hardly an aberration. The income statistics for Young Living

  confirm the fact that only an infinitesimal number of Members ever manage to make a profit. For

  example, the Young Living 2015 U.S. Income Disclosure Statement (the year Julie joined Young

  Living) states the average annual income for all Members in 2015 was $30, or approximately 1/3

  the cost of joining and far less than the $100 monthly minimum payment required to maintain

  status as a commission-eligible Essential Rewards Member.14




  13
    Young Living never actually paid any commissions to Julie because she never earned more than $25 in
  any single month. Instead, the earned commissions simply accrued to Julie’s account.
  14
     And remember, these “Member” statistics don’t include former Members, whose net income would be
  less than $0.


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          56.     According to the 2016 Young Living Disclosure Statement, the average annual

  income for all Members fell to $25, or approximately a 1/4 of the cost of joining the Young Living

  scheme.15

          57.     Young Living’s disclosure statements are, however, far from true disclosures. In

  fact, they are intentionally misleading and false because they omit material facts, such as the

  number of total members (as opposed to only current members), the true likelihood that any new

  Member will actually earn any commissions, and the relatively small number of new prospects

  that have not already considered but refused to participate in Young Living’s pyramid scheme.

  These false and misleading disclosures were published 24 hours a day for 7 days a week, year after

  year on Young Living’s website under the direction and supervision of Young and Turner and with

  their tacit approval.

          58.     Some or all of the communications described herein have appeared and continue to

  appear on Young Living’s website since the date of their original posting.

          59.     O’Shaughnessy and other class members justifiably relied on Young Living’s

  fraudulent representations and omissions made pursuant to the above-described scheme in that,

  among other things, Young Living fraudulently and deceptively induced O’Shaughnessy and other

  class members to pay and lose hundreds (and in some cases thousands) of dollars to become Young


  15
     In 2018, Young Living (likely to obscure the fact they had been operating an illegal pyramid scheme)
  created a two-tiered membership system that distinguishes between “preferred customers” and “business
  builders.” Preferred customers now pay for the right to receive discounts on Young Living products but do
  not recruit other Members or sell products. Business builders continue to recruit new members and sell
  products in the hope of one day earning enough money to cover the enormous costs of being a Member.
  As discussed infra, this action concerns the pyramid scheme operated by Defendant prior to 2018 and does
  not involve Young Living’s transition to this new, two-tiered system—which is nothing more than an effort
  to obscure the unlawful business model by skewing the statistics in its income reporting statements. Indeed,
  it only serves to underscore the fact that the Enterprise is operating as a pyramid scheme.


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  Living Members, as set forth with more particularity above, and such conduct was the “but for”

  and proximate cause of those losses.

                                       INTERSTATE COMMERCE

         60.     Defendant has engaged in activities that affect interstate commerce.

         61.     Defendant has transmitted, caused to be transmitted, or invited others to transmit

  materials, by mail or private or commercial carriers, for the purpose of executing their scheme or

  artifice with intent to defraud. By way of example, on May 16, 2015, Young Living shipped an

  order of essential oils to Julie using a private courier involved in interstate transport. The shipment

  of oil was in response to an order placed by Julie as part of her monthly effort to earn enough PV

  to qualify for commissions on her down line sales. When Defendant Young Living shipped

  essential oils to Julie, Defendant knew, but failed to disclose that Julie could not hope to resell

  such oils or profit from such practice, and/or that the sale of Young Living’s oils through the

  Defendant’s use of the private interstate courier was in furtherance of the illegal pyramid scheme.

         62.     Further, on May 16, 2015, Young Living sent to Julie a monthly newsletter entitled

  “The Essential Edge” using a private interstate courier. The newsletter is published by Defendant

  and includes promotional/marketing materials designed to promote the illegal pyramid scheme.

  Among other items in the newsletter, there was a profile of a “Diamond” level Member who

  claimed that Young Living provided “financial freedom” to her and her husband, and an

  advertisement for the 2015 International Grand Convention, “Light the Fire,” to be held in Dallas,

  Texas in August of 2015. When Defendant sent the May 16th Monthly Newsletter promoting the

  purported financial freedom Julie could achieve as a Member, Defendant misrepresented or failed

  to disclose to Julie that she would only lose money from her participation in Young Living, and



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  that Defendant was operating an illegal pyramid scheme. Moreover, Defendant’s use of the private

  interstate courier to disseminate the newsletter was in furtherance of their illegal pyramid scheme.

         63.     Moreover, Defendant has transmitted, caused to be transmitted, and invited others

  to transmit, by means of wire in interstate commerce, writings, signs, signals, pictures, or sounds

  for the purpose of executing their scheme or artifice with intent to defraud. By way of example,

  On October 14, 2015, sitting in Texas, Julie logged onto to the Young Living website that is hosted

  on servers in New York. As part of her monthly requirement to purchase product, Julie placed an

  electronic order for Young Living products and paid for the order electronically using account

  credits and credit card. The order was placed, and payment was made in the amount of $126.82

  via the use of interstate wires. This transaction, like every other Julie transacted with Young

  Living, was induced on the false promise that Julie could make a profit on her purchases, which

  false promise was made repeatedly by Young Living. In fact, when Defendant Young Living took

  Julie’s payment on this date and provided to her the oils Julie was required to purchase, Young

  Living knew, but failed to disclose at the direction of Young and Turner, that Julie could not hope

  to make a return on her “investment” because (i) there is no market to re-sell the oils at a profit,

  and (ii) no matter how hard she might work, she would not be able to recruit enough downline

  members to earn enough commissions to return a profit to her.

         64.     And on October 21, 2015, Young Living sent a mass marketing email from

  customerservice@youngliving.com to Julie and thousands of other Members throughout the

  United States using interstate wires. This email contained imbedded hyperlinks to web-hosted

  articles promoting the illegal pyramid scheme, including a list of live cult-like events during which

  fever-pitched-speakers attempt to motivate the faithful into recruiting more and more members.



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  The imbedded hyper-links pointed back to Young Living’s New York hosted website.

  Defendant’s use of interstate wires was in furtherance of their illegal pyramid scheme. When the

  Defendant undertook to communicate regarding the web-hosted articles, it misrepresented to Julie

  or omitted to disclose that such communications were for the purposes of promoting a pyramid

  scheme which would lead only to losses for Julie, and profits only for those at the top of the

  pyramid scheme

                                              VI.
                                    CLASS ACTION ALLEGATIONS

         65.     Plaintiff brings this suit as a class action pursuant to Rules 23(b)(2) and (b)(3) of

  the Federal Rules of Civil Procedure.

         66.     The Class is defined as follows:

         All United States residents who joined Young Living as Essential Rewards
         members. The following are excluded from this class: Defendant and its
         officers, directors, counsel, and subsidiaries, along with immediate family
         members of individual Defendants.

         67.     The putative Class easily meets Rule 23(a)’s numerosity requirement. Indeed, the

  class is believed to number well over one hundred thousand members.

         68.     Plaintiff’s claims are typical of the claims of the class in that each became a Young

  Living Member because each was unsuspectingly induced to join the pyramid scheme.

         69.     This case presents questions of law or fact common to class members that

  predominate over any questions affecting only individual members, and a class action is superior

  to other available methods for fairly and efficiently adjudicating the controversy.

         70.     The questions of law and/or fact common to the class include, but are not limited

  to:



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                  a.         Whether Defendant was operating an unlawful pyramid scheme;

                  b.         Whether the sale of an interest in Defendant’s unlawful pyramid scheme

  constitutes the sale of a security;

                  c.         Whether Defendant engaged in acts of securities fraud when operating the

  unlawful pyramid scheme;

                  d.         Whether Defendant engaged in acts of securities fraud by omitting to inform

  Members they were joining a pyramid scheme,

                  e.         Whether Defendant engaged in acts of securities fraud by omitting material

  facts relating to the offering materials/prospectus provided to Members when they paid to join

  Young Living;

                  f.         Whether Defendant is liable to the class as a result of their participation in

  the Young Living pyramid scheme; and

                  g.         Whether the Class has sustained damages, and if so, what is the measure of

  damages.

          71.     Plaintiff will fairly and adequately represent the interests of the Class because

  Plaintiff’s claims are typical of those of the Class and Plaintiff’s interests are fully aligned with

  those of the Class. Plaintiff has retained attorneys that are experienced and skilled in complex

  class action litigation.

          72.     Class action treatment is superior to any other method of proceeding for the fair

  and efficient adjudication of the controversy alleged herein because class treatment will permit a

  large number of similarly situated persons to prosecute their common claims in a single forum




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  simultaneously, efficiently, and without unnecessary duplication of evidence, effort, and expense

  that numerous individual actions would engender.

            73.   Defendant has acted on grounds that apply generally to the Class so that final

  injunctive relief or corresponding declaratory relief is appropriate respecting the Class as a whole.

  If Plaintiff proves Defendant operates a pyramid scheme the Court should enjoin Defendant from

  operating that pyramid scheme in the future.

            74.   The questions of law and/or fact that are common to the Class predominate over

  any questions affecting only individual class members.

            75.   Finally, a class action under Rule 23(b)(3) is superior because:

                  a.     No class member has an interest in individually controlling the prosecution

  of his/her/its separate action. No class member can be expected to incur the cost of attorneys’ fees

  and costs to recover the amounts spent by each to join Young Living and operate as a Member of

  Young Living. While such amounts are significant to each Member, they are not enough to justify

  the costs of litigation individually, and no one would choose to do so on that basis;

                  b.     There is no other pending litigation over these issues;

                  c.     It is manifestly desirable to concentrate the litigation of the class’ claims in

  Texas and this district; and

                  d.     The Court will encounter no difficulties in managing this case as a class

  action.




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                                                   VII.
                                            CAUSES OF ACTION

                                                 COUNT I

   VIOLATION OF SECTION 10(b) OF THE SECURITIES EXCHANGE ACT AND RULE
                            10b-5, THEREUNDER

           76.      Plaintiff realleges and restates paragraphs 1–75, as if fully set forth herein, and

  further states:

           77.      The offer and sale of Young Living Essential Reward Membership interests, such as

  that purchased by Plaintiff and putative class members, is in connection with and constitutes the sale

  of a security. The writings, offering materials/prospectus (as described herein) and other written

  materials comprise the prospectus for Young Living Essential Reward Membership interests.

           78.      Defendant has engaged in activities that affect interstate and foreign commerce. The

  pyramid scheme has operated in the United States, Canada, and numerous countries across the Globe,

  and is based in the United States. Federal securities laws regulate Defendant’s acts and this Court has

  jurisdiction to apply Section 10(b)(5) with respect to all activities upon which this action and claim is

  based.

                        Section 10(b)(5), Subsections (a) and (c) Scheme Liability

           79.      The Securities Exchange Act of 1934, Section 10(b)(5) subsections (a) and (c), makes

  it illegal to “employ a device, scheme, or artifice to defraud” and “to engage in any act, practice or

  course of business which operates or would operate as a fraud or deceit upon any person, in connection

  with the purchase or sale of any security.” Defendant Young Living is liable under subsections (a)

  and (c) as follows:




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         80.     Defendant Young Living employed a plan, scheme, and course of business to operate

  as a product-based pyramid scheme. The scheme had as its defined target, unsophisticated investors

  like Plaintiff and class members. The scheme went beyond misrepresentations and omissions (both

  of which have also been described herein). Indeed, it was designed to act and operate as an illegal

  pyramid scheme masquerading as a product-based multi-level marketing system, and in fact operated

  in this manner. The scheme depended on a fiction that acted as a fraud or deceit on Plaintiff and class

  members—that Essential Rewards members were engaging in an activity that was legal, whereby

  they would sell a product to a base of customers and in turn be compensated for such sales. In fact,

  Defendant Young Living knew the Plan they required each Essential Rewards Member to enter into

  through the offering materials/prospectus described herein, in practice required Essential Rewards

  Members to pay for the right to receive rewards which were unrelated to the sale of products to retail

  customers, and instead only paid for Essential Rewards Members to recruit others into the pyramid

  scheme.

         81.     The product sales which do occur, are almost entirely to other Essential Rewards

  Members (either in the form of the “starter packs” or as part of PV and OGV). Defendant Young

  Living enticed Essential Rewards Members to join with false promises of financial and spiritual

  rewards. In the meantime, Defendant Young Living failed to disclose the true earnings Plaintiff and

  class members were likely to receive (essentially none) and that the Young Living business

  opportunity which they had paid to receive operated as a pyramid scheme, as defined by numerous

  courts and the Federal Trade Commission. The facts which lead to the inescapable conclusion Young

  Living operates a pyramid scheme are repeated and realleged here, and as such, Defendant Young




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  Living’s pyramid scheme is inherently fraudulent under federal law, which thus imposes Section 10b,

  subsection (a) and (c) scheme liability on the Defendants.16

                                     Proximate Cause and Reliance

          82.     The losses suffered by Plaintiff and the Class were foreseeable and a direct result of

  Defendant Young Living’s establishment, operation, promotion, and expansion of the pyramid

  scheme, because the harm the operation of the pyramid scheme imposes on the innocent participants

  in the pyramid scheme (i.e., Essential Rewards Members) is the foreseeable consequence of the

  structure of this, and all pyramid schemes.

          83.     Specifically, the operation of this pyramid scheme depends upon expansion through

  the continual and unrelenting recruitment of other innocent participants into the pyramid scheme who

  do not know the only way they could hope to mitigate their losses from their participation in the

  pyramid scheme is to recruit even more additional innocent participants into the pyramid scheme.

          84.     In reality, this pyramid scheme (like every other pyramid scheme) emphasized

  recruitment over the sale of a product, and depended on the fact that money losers (such as Plaintiff

  and class members) ultimately are paying money to the small group of winners at the top of the

  pyramid scheme (here Royal Crown Diamonds). The participants in the pyramid scheme were

  induced to purchase their business opportunity without knowledge that there was no way to profit

  without victimizing others (which even still, rarely if ever led to “profits”). The promotional and

  recruiting materials authored by Defendant Young Living and described herein, were produced with



  16
    See e.g., Kerrigan v. Visalus, Inc., 2016 WL 892804, at *16 (unpublished) (holding that allegations that
  Defendant operated an illegal pyramid scheme satisfies theory of “scheme liability” under Section10b,
  subsection (a) and (c)); SEC v. CKB168 Holdings, Ltd., 210 F. Supp. 3d 421, 445–46 (E.D.N.Y. 2016)
  (same).


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  the intent Plaintiff and class members would join another’s “downline” and therefore contribute funds

  into the scheme. Thus, the acts described herein are a proximate cause of Plaintiff and class member’s

  damages.

         85.     Importantly, individual reliance by Plaintiff and class members is not a requirement

  to scheme liability under Section 10(b)(5), subsections (a) and (c). Regardless, and alternatively,

  Plaintiff and class members also rely upon the presumption of reliance established in Affiliated Ute,

  CGC Holding, Co., LLC v. Broad and Cassel, 773 F.3d 1076 (10th Cir. 2014).

         86.     Specifically, generalized class-wide proof demonstrates reliance on Defendant Young

  Living’s scheme to defraud such as to support the inference of reliance applicable to the entire Class.

  Such proof includes the requirement that Plaintiff and each class member was required to sign an

  essentially identical agreement and enter into unilaterally imposed terms contained in the offering

  materials/prospectus, thus exposing Plaintiff and class members to the same misrepresentations and

  omissions about the pyramid scheme—including that the Plaintiff and class members investment in

  the Defendant’s pyramid scheme was legal.

                                                 Scienter

         87.     Defendant Young Living’s actions, (through its operators and managers such as

  Young and Turner) as set forth herein were made with such mental state to manipulate, deceive, or

  defraud, or with such recklessness, as to constitute scienter, which is imputed to Defendant Young

  Living. Defendant had a motive to operate and benefit from the operation from the pyramid scheme,

  and opportunity to conceal the fact it was operating a pyramid scheme. Proof of scienter is

  demonstrated or inferred from the following:




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                    a.      The operation of a pyramid scheme which, according to published reports,

  generated billions of dollars in revenue each year during the class period, almost none of which is

  based upon the sale of its products to ordinary retail customers;

                    b.      Engaging in plainly illegal actions related to the operation of a pyramid

  scheme as alleged herein; and

                    c.      The understanding by Defendant that it was operating an illegal pyramid

  scheme, which is demonstrated by its design and implementation of the Young Living

  Compensation Plan.

            88.     Plaintiff and class members suffered damages as a result of the above-described

  actions of Defendant. Specifically, Plaintiff and class members suffered the amounts they paid to

  purchase their interest in the pyramid scheme.

                                            COUNT II
                                   VIOLATION OF 15 U.S.C. §77l(a)(2)

            89.     Plaintiff realleges and restates paragraphs 1–88, as if fully set forth herein, and

  further states:

            90.     The Securities Act of 1933, Section 12(2) provides strict liability if: (1) the seller

  of a security used interstate commerce or the mails, (2) to offer or to sell a security to the purchaser,

  (3) by means of a prospectus or oral communication, (4) that misstates or omits a material fact, (5)

  of which the purchaser did not have knowledge.

            91.     A prospectus as defined by the United States Supreme Court, is a “document

  soliciting the public to acquire securities.”17 The interest in Defendant’s pyramid scheme involved



  17
       See Gufstason v. Alloyd Co., 513 U.S. 561, 569 (1995).


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  the use of a prospectus, as that term is defined in the Securities Act of 1933.18 Here, Plaintiff and

  the class members received the same, or substantially same offering materials/prospectus

  transmitted through interstate commerce and the mails.

          92.     The offering materials/prospectus, which were transmitted to Julie and the class

  members via Young Living’s website, contained the following omissions:

                  a.       Nothing in the offering materials/prospectus or any associated information

  on Defendant’s website or affiliated websites containing the offering materials/prospectus

  disclosed that Defendant was operating a pyramid scheme or that Plaintiff and class members

  would be purchasing an interest in a pyramid scheme. Instead, the offering materials/prospectus

  claimed to be operating a legal MLM company.

                  b.        Nothing in the offering materials/prospectus or any associated information

  on Defendant’s website or affiliated websites containing the offering materials/prospectus

  disclosed that the majority of participants in Defendant’s pyramid scheme would lose money

  unless they operated their business opportunity in the pyramid scheme as such. Instead, Defendant

  implied or stated that participants in the pyramid scheme could profit by selling products to retail

  customers. Such misrepresentation or omission was false because Plaintiff and class members

  could not profit from the retail sale of Defendant Young Living’s essential oils because any non-

  participant could purchase Defendant Young Living’s essential oils at the same discount such

  essential oils were sold to participants.




  18
    Section 10(a)(10) of the Securities Act of 1933 defines “prospectus” as “any prospectus, notice, circular,
  advertisement, letter, or communication, written or by radio, or television, which offers security for sale of
  confirms the sale of any security.”


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         93.     Plaintiff and class members suffered damages as a result of Defendant Young

  Living’s actions described above because they lost money through the purchase of their interest in

  the pyramid scheme.

         94.     Plaintiff and class members are entitled to damages in the form of recission.

                                               VIII.
                                            JURY DEMAND

         95.     Plaintiff and putative class demand a trial by jury.

                                              IX.
                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff and the putative class pray for judgment against Defendants as

  follows:

                 a.      An order certifying the putative class and appointing the undersigned class

  counsel;

                 b.      A judgment against Defendant;

                 c.      Damages in the amount of the financial losses incurred by Plaintiff and class

  members as a result of Defendant Young Living’s conduct and as a result of Defendant Young

  Living’s violation of the Securities Exchange Act of 1934, and specifically, Section 10(b),

  subsections (a) and (c);

                 d.      Recessionary damages in favor of Plaintiff and class members as a result of

  Defendant Young Living’s conduct and as a result of Defendant Young Living’s violation of 15

  U.S.C. §77l(a)(2);




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                 e.      Temporary and permanent injunctive relief enjoining Defendant from

  further unfair, unlawful, fraudulent, and/or deceptive acts, including but not limited to supporting

  the pyramid scheme; and

                 f.      For such other damages, relief, and pre- and post-judgment interest as the

  Court may deem just and proper.

         DATED this 2nd day of July, 2021.

                                                MUNCK WILSON MANDALA, LLP


                                                /s/ Robert E. Linkin
                                                Robert E. Linkin
                                                Attorneys for Plaintiff Julie O’Shaughnessy




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                                 CERTIFICATE OF SERVICE


         I hereby certify that a true and correct copy of the above and foregoing document was

  served on July 2, 2021 to all counsel of record who are deemed to have consented to electronic

  service via the Court’s CM/ECF system.



                                             By:    /s/ Hannah Harrington- Dunn
                                                    Hannah Harrington-Dunn




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